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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



   Saraeun Min,

                         Petitioner,

                                                             Criminal Action No. l:10-cr-446-2
   United States of America                                  Civil Action No. l:14-cv-640


                         Respondent.


                                MEMORANDUM OPINION


       This matter comes before the Court on Petitioner Saraeun Min's Motion to Vacate, set

Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255. For the reasons set forth below, the

Motion is DENIED.


                                          I. Background

       From June to October 2010, the Bureau of Alcohol, Tobacco, Firearms and Explosives

("ATF") conducted an undercover investigation involving Petitioner and other co-conspirators.

In June 2010, an ATF confidential informant introduced three undercover law enforcement

officers ("UCs") to Defendant Phun, who was based in Philadelphia. During the meeting, they

discussed Phun's large-scale marijuana trafficking as well as a potential armed robbery of a

narcotics "stash house" in Virginia. Following this initial meeting, Phun met with the UCs from

June 2010 to October 2010, exchanging contraband cigarettes for marijuana.

       On October 6,2010, Phun met with the UCs in Fairfax County, Virginia to discuss the

logistics of the stash house robbery. The UCs provided Phun with pictures of motels, explaining

that these were the locations where one UC had previously picked up kilograms of cocaine. The

UC explained that when he arrived to collect thedrugs, he observed ten kilograms of cocaine and

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